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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

THE UNITED STATES OF AMERICA ex rel.
FPPD,

Plaintiffs,
Vv.

OCWEN FINANCIAL CORPORATION, OCWEN
LOAN SERVICING, LLC, OCWEN MORTGAGE
SERVICING, INC., ALTISOURCE PORTFOLIO
SOLUTIONS, $.A., ALTISOURCE
RESIDENTIAL CORPORATION, ALTISOURCE
ASSET MANAGEMENT CORPORATION,
REALHOME SERVICES AND SOLUTIONS,
INC., REAL ESTATE SERVICING SOLUTIONS,
INC., PREMIUM TITLE SERVICES, INC.,
NATIONWIDE CREDIT, INC., HOME LOAN
SERVICING SOLUTIONS, LTD., OCWEN
MORTGAGE SERVICING, INC., HUBZU, USA,
INC., WILLIAM C. ERBEY, WILLIAM B.
SHEPRO, AND RONALD M. FARIS,

Defendants.

 

CIVIL ACTION NO. 13-10417-MLW

AAD 4P2ROPOSEDLORDER

This Court, having considered the Plaintiff-Relator’s Fed. R. Civ. P. Rule 41 Notice of

Voluntary Dismissal Without Prejudice and Request for Court Approval, finds that dismissal of

the Complaint without prejudice to the Relator or the United States is warranted for the reasons

stated in that Notice and the United States’ consent to the requested dismissal. Accordingly:

IT IS HEREBY ORDERED that,

1. All claims asserted on behalf of the United States and the Relator in this action

are dismissed without prejudice; and
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2. A copy of this Order shall be served on counsel for the United States and counsel
for the Relator.
July ary

Dated: Rane —_, 2019

UNITED STATES DISTRICT JUDGE
